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          SENDER: COMPLETE THIS SECTION
          •   Complete items 1, 2, and 3. Also complete ..·
              item 4 if Restricted Delivery is desired.
          •   Print your name and address on the reverse
                                                                    c.
              so that we can return the card to you ..
          •   Attach this card to the back of the ma:ilpiece,       X
                                                                                                     J ,   ,J •   Agent
              or on the front if space permits.                                                      vvCht] Addressee
                                                                                                              0   Yes
                                                                                                              •   No




                                                                    3. ~ice Type
                                                                       )ISlCertified Mail    O Express Mail
      i                                                              ·  D Registered        ~eturn Receipt for Merchandise
                                                                        0 Insured Mail       O C.O.D.
      !----------------'-----...L.-4_._R_es_tr_ic_te_d_D_e_liv_e_ry_?_(Ex_tra_M_ee_~_ _ _ _•_Yi_e_s_ __
      1-. 2~Ar:ticl.e..Number1CoovJrom..secvice./abell--,-,-----~
      '          7011 35 •0.DOD • 674~_ 8525                              1
      \'-ps-Form    38T1,   July 1999                 Domestic Return Receipt                               102595-00-M-0952
      i 111 I 11 11111 111111111 11 1111 111 i I
  Case 2:21-cv-13409-JMV-JBC
                  '
UNITED STATES POSTAL SERVICE
                             Document 14 FiledFirst-Class
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         / I I 11          I I          l 11               I 111                   I 111                I         I              111111              11    ~t~\9~ &   f'ees Paid
         I                                                                                                                                                .Permit No. G-10
         I                                                                                                                                                ....,··-.- - - -
    / • Sender: liease print your name, address, and ZIP+4 in th~~ box •
    .'  C"-1               p.:r~~
                     .,.~-j-~,-~-~~-~~rt:'t~~i~F-t~td."f~~r~:E-(~r-:.. ..,._J ~,.::~--~ -~-·'. , - J·
               "'
             . c::>   ,· u.,·
                         :r:
               "'        --'                   U.S. DISTRICT COURT                                                                                             '
               C:     .~                     MARTIN LUTHER KING, JR.
               8:      :   t-=   FEDERAL BLD. &U.S. COURTHOUSE
               <      ,~ ~                            50 WALNUT STREET
                      -~ ::l                          NEWARK, N.J. 07101                                                                        ,t
                      ~•§:       j,~: -,, •~•\..:._•• .:, .•.•   V.<..-•.:,.:,r:.:!,•.;,f;;:u•~•• •,".:,, ... ,.-,T'>f :": •~:-,•~   •• • ,;,   I




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